995 F.2d 1064
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Rodney ROGERS, a/k/a Koseem C. Sanders,  Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    No. 93-6119.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 25, 1993Decided:  June 10, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Richard B. Kellam, Senior District Judge.  (CA-92-1011-2)
      Rodney Rogers, Appellant Pro Se.
      Mark Anthony Exley, Office of the United States Attorney, Norfolk, Virginia, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before HALL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Rodney Rogers appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Rogers v. United States, No. CA-92-1011-2 (E.D. Va.  Feb. 3, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    